 Case 3:20-cv-01421-X-BT Document 14 Filed 11/04/20           Page 1 of 1 PageID 50



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

JARVIS JACKSON,                             §
             Petitioner,                    §
                                            §
v.                                          §    No. 3:20-cv-1421-X
                                            §
DIRECTOR, TDCJ-CID,                         §
              Respondent.                   §

       ORDER ACCEPTING FINDINGS, CONCLUSION, AND
  RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

      After making an independent review of the pleadings, files and records in this

case, and the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge dated October 19, 2020, the Court finds that the Findings and

Recommendation of the Magistrate Judge are correct, and they are accepted as the

Findings, Conclusions, and Recommendation of the Court.

      IT IS THEREFORE ORDERED that the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge are accepted. Moreover, to

the extent that a certificate of appealability is necessary here, it is denied.

      IT IS SO ORDERED this 4th day of November 2020.




                                  ________________________________
                                  BRANTLEY STARR
                                  UNITED STATES DISTRICT JUDGE
